          Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA



    IN RE: PHILIPS RECALLED CPAP,                Master Docket: Misc. No. 21-mc-1230-JFC
    BI-LEVEL PAP, AND MECHANICAL
    VENTILATOR PRODUCTS
    LITIGATION                                   MDL No. 3014

    This Document Relates to:
    All Actions



               PLAINTIFFS’ BRIEF AND OPPOSITION TO KONINKLIJKE
                  PHILIPS N.V.’S REQUEST FOR JUDICIAL NOTICE
         Defendant Koninklijke Philips N.V.’s (“KPNV”) Request for Judicial Notice (ECF No.

2393) (the “Request”) is untimely and improper, and for those reasons should be denied.

         Simultaneously with its proposed Findings of Fact and Conclusions of Law, KPNV asked

the Court to take judicial notice of eleven complaints and consent decrees pertaining to companies

other than Philips, purportedly as a follow-up to statements made by its counsel at the jurisdictional

evidentiary hearing that KPNV’s counsel will “show [the Court] examples of consent decrees that

go beyond the regulated entity.” Ex. 1 (10/17/23 Tr.) at 213; see Req. at 2. However, after the

evidentiary record closed KPNV now seeks to do something else entirely, citing to an arbitrary

inapposite collection of complaints and consent decrees as the sole support for the statement

“KPNV’s direct involvement in the recall and remediation efforts is not surprising. For one, KPNV

itself faced potential regulatory exposure to the FDA. There has been a long history of non-

manufacturer parent companies and their officers being named in consent decrees entered in FDA

enforcement activities for failure to satisfy their oversight obligations.” ECF No. 2392 ¶ 277

(footnotes omitted). Plaintiffs agree that KPNV’s direct involvement in the recall and remediation

is unsurprising, and the KPNV itself faces regulatory exposure to the FDA for various failings in

.                                                 1
        Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 2 of 8




its oversight obligations. To be clear, KPNV has long been directly involved with the CPAP,

BiPAP, and ventilator devices at issue in this litigation, and its repeatedly negligent management

of operations in Pennsylvania and Massachusetts (both before and during the recall and

remediation efforts) are precisely what give rise to the proper exercise of personal jurisdiction in

those venues, and regulatory risk. See, e.g., ECF No. 2389, ¶¶ 92-197, 375-471. However, KPNV’s

request that the Court take judicial notice of interpretations drawn from the eleven complaints and

consent decrees involving non-Philips companies is improper because it asks the Court to draw

irrelevant inferences that are unsupported by the mere existence of the underlying documents.

       To the extent the Court is inclined to grant KPNV’s Request, Plaintiffs respectfully request

that the Court also consider facts developed since the evidentiary hearing that provide further

evidence that KPNV is properly subject to personal jurisdiction in this matter, and rebut arguments

made by KPNV at the October 17 evidentiary hearing.

I.     KPNV’S REQUEST FOR JUDICIAL NOTICE IS IMPROPER

       Federal Rule of Evidence 201 does allow a court to take judicial notice of an adjudicative

fact if that fact is not subject to reasonable dispute. Fed. R. Evid. 201(b). The existence of a

particular public document is often a fact of which a court may take judicial notice, but it is

improper for a court to take judicial notice of the truth or interpretation of documents’ contents,

particularly documents filed in connection with litigation. 1 Jones on Evidence § 2:12.50 (7th ed.);

see also Werner v. Werner, 267 F.3d 288, 295 (3d Cir. 2001); Bruce v. City of Pittston, 2023 WL

6609023, at *1-2 n.1 (M.D. Pa. Oct. 10, 2023) (judicial notice of public records but not “of any

facts contained therein which are subject to dispute”); Sturgeon v. Pharmerica Corp., 438 F. Supp.

3d 246, 257-58 (E.D. Pa. 2020) (records from prior judicial proceedings “may only be judicially

noticed to show what was in the public record at the time, not whether the contents of those

documents are true”); PG Pub. Co. v. Aichele, 902 F. Supp. 2d 724, 735 (W.D. Pa. 2012), aff’d,
.                                                2
        Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 3 of 8




705 F.3d 91 (3d Cir. 2013) (“There is an obvious difference between accepting the fact of an

article’s existence and accepting the truth of the statements contained therein.”).

       If KPNV sought this Court’s acknowledgement that FDA complaints and consent decrees

that name various members of corporate families merely exist, perhaps it would be a proper request

for judicial notice. However, KPNV instead asks the Court to improperly find meaning, draw

inferences from, and find facts buried in complaints and consent decrees, where the documents fail

to shed any light on the circumstances behind any of the defendants being named as parties or

provide insight into the involvement of each parent corporation, or its officers/employees, in any

wrongdoing. See Req., Exs. A-G. Suggesting that the Court should draw inferences from the

presumably detailed, but entirely unexamined, factual histories underlying these consent decrees

from 8 to 16 years ago is not the proper subject of a request for judicial notice. See, e.g., Werner,

267 F.3d at 295 (judicially noticing the existence of meeting minutes but not their substance). The

impropriety of the Request is highlighted by the fact that the self-serving factual inferences that

KPNV asks the Court to take notice of are largely presented in the form of unsupported

parentheticals and not the documents themselves. See, e.g., Req. at 1-2 (listing documents and

corresponding dates); ECF No 2392, ¶ 277 n.16 & n.17 (parentheticals purporting to show that

entities or individuals were named for supervisory functions).1 Accordingly, the Request should

be denied.




1
  For example, KPNV quotes language out of context from Exhibit G claiming that “[The
subsidiary] reports directly to [the parent’s Senior Vice President],” perhaps implying that is why
the individual was named as a defendant. ECF No. 2392 ¶ 277 n.7 (quoting Ex. G). But the
language in Exhibit G actually says “GE OEC reports directly to Mr. Hogan, and he is responsible
for the operations of the GE OEC facilities in Salt Lake City, Utah, and Lawrence,
Massachusetts.” See Req., Ex. G at 3 (emphasis added). Asking the Court to take notice of
inferences that are subject to differing interpretations is inappropriate for judicial notice.

.                                                3
        Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 4 of 8




       Moreover, judicial notice should not be granted when the facts proffered are irrelevant. PG

Pub., 902 F. Supp. 2d at 735. Here, KPNV fails to show how or why the consent decrees or

complaints are relevant to its motions to dismiss for lack of personal jurisdiction. Consent decrees

and complaints filed in other circumstances against other corporations provide no insight into the

personal jurisdiction issues in dispute. The list of companies KPNV cites as examples of FDA

enforcement action are listed without context as to the existence (or absence) of U.S. federal court

personal jurisdiction over those entities, and includes (1) U.S. based parent entities inarguably

subject to personal jurisdiction (for example, GE Healthcare and Medtronic), ECF No. 2392, ¶ 277

n.16 & n.17 (Exs. A, B, G, H); (2) alter ego parent-subsidiary relationships (for example, Teva),

ECF No. 2392, ¶ 277 n.16 & n.17 (Exs. F, K); see San Francisco v. Purdue Pharma L.P., 491 F.

Supp. 3d 610, 635-39 (N.D. Cal. 2020) (concluding that Teva Ltd. and its subsidiaries are alter

egos)2; or (3) direct involvement by the parent entity in oversight, quality, and operations ECF No.

2392, ¶ 277 n.17. At bottom, the complaints and consent decrees shed no light on the personal

jurisdiction question before the Court.

       Finally, in contrast to a request for judicial notice made in the process of briefing a typical

motion to dismiss, it was agreed here that the evidentiary record was closed as of the October 17

evidentiary hearing. See Ex. 2 (8/8/23 Tr.) at 39:18-43:12 (discussing finalization of factual record

with pre-hearing statements). In fact, it was KPNV’s counsel that said “can we just all agree . . .




2
  Not unlike at least one court has found with respect to Philips. In re Cathode Ray Tube (CRT)
Antitrust Litig., 2017 WL 5972721, at *3 (N.D. Cal. Feb. 27, 2017), (concluding that (1) “the
evidence does not show as a matter of law that KPNV’s divisions were legally separate from
KPNV”; (2) “even if its divisions were nominally separate, there is evidence suggesting that they
were not autonomous and that their actions were substantially directed by KPNV”; and (3) “the
evidence of Philips’ participation in the CRT conspiracy is that its employees acted on behalf of
the Philips group of companies, and not any particular subsidiary.”).

.                                                4
         Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 5 of 8




that the exhibit list is now set . . . Just enough with the exhibits. Can we just agree that that’s the

universe?” Id. at 39:18-24. And, in response to Plaintiffs’ counsel’s inquiry regarding new

documents that may arise, the Court was clear that “[u]nless they come up in one of these

depositions, there are no new documents.” Id. at 43:11-12. Now, KPNV seeks to add new

documents as evidence, in an impermissible attempt to expand the factual record. KPNV’s

counsel’s unilateral statement during argument that some evidence not in the record could be

identified, Req. at 2 (citing 10/17/23 Tr. at 212-13), fails to provide any justification to reopen the

personal jurisdiction record at any time, not to mention the prejudice on Plaintiffs caused by

KPNV’s delay until after the Court ordered deadline for parties’ proposed findings of fact and

conclusions of law submission to make such an attempt. Had KPNV included this information

prior to the evidentiary hearing and/or multiple rounds of briefing, Plaintiffs would have had a

chance to rebut KPNV’s flawed interpretation of the facts in these consent decrees. The Request

should be rejected on this basis as well.

II.     IF KPNV’S LATE SUPPLEMENTATION IS PERMITTED, PLAINTIFFS ASK
        THAT THE COURT ALSO CONSIDER RECENT TESTIMONY

        As described above, the factual record for the Motions to Dismiss and related evidentiary

hearing closed on October 17, 2023. Should the Court accept KPNV’s new evidence, Plaintiffs

respectfully request the Court also consider the new testimony from employees of KPNV and/or

other Philips entities that occurred subsequent to the evidentiary hearing. For example, Dr. Shen,

who KPNV identified as a Philips North America LLC employee, testified that she worked for

KPNV:

        Q. And then it looks like you took a job with Royal Philips, April 2015; is that right?

        A. Yes.

        ...


.                                                 5
        Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 6 of 8




       Q I’m sorry. It was your understanding –

       A Yes.

       Q -- that you worked for Royal Philips?

       A Yes.

       Q Is that right? And were you recruited to work with Royal Philips?

       A Yes.

Ex. 3 (Shen Tr.) at 25:9-11, 26:6-14; see also Ex. 3 (Shen Tr). at 26:14-18 (hired by Liz Iversen

who also worked for KPNV); 27:4-7 (took role at KPNV due to desire to work for non-American

company); 27:7-28:3 (global role was for all of KPNV). Dr. Shen testified that in her role at KPNV,

she had direct involvement with the Pennsylvania-based Sleep and Respiratory Care business. See

Shen Tr. at 34:3-5; 34:9-35:3; 335:7-336:24 (

                                                         ). And Dr. Shen unequivocally confirmed

that it was part of her responsibility (as a KPNV employee) to ensure Philips’ medical devices

were safe. See id. at 30:12-14, 20-22. In addition, when questioned by KPNV counsel,



                . See id. at 335:7-11, 337:2-22. Dr. Shen’s testimony flies directly in the face of

KPNV’s main jurisdictional contentions.

       In addition, Plaintiffs request that the Court include the deposition testimony of John Frank

(SRC business leader) in the evidentiary record. The testimony from this high-level employee is

similarly informative on the personal jurisdiction matters in dispute. For example, Mr. Frank

testified, among other things,                                                          . See Ex. 4

(Frank Tr.) at 80:22-82:1. The message from all of the key, high-ranking employees is the same—

KPNV was directly involved with the Recalled Devices and operated its subsidiaries without

regard for corporate boundaries.

.                                                6
          Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 7 of 8




III.      CONCLUSION

          For the aforementioned reasons, Plaintiffs respectfully request that the Court deny KPNV’s

Request for Judicial Notice. If the Court grants KPNV’s Request and takes judicial notice of the

complaints and consent decrees, Plaintiffs respectfully request that the Court: (1) take notice only

of the documents’ existence and not the factual inferences that KPNV seeks to have the Court draw

from them; and (2) permit Plaintiffs to similarly supplement the personal jurisdiction record with

the deposition testimony of Dr. Shen and Mr. Frank.

Dated: December 28, 2023                                Respectfully submitted,

    /s/ Sandra L. Duggan                              /s/ Steven A. Schwartz
    Sandra L. Duggan, Esquire                         Steven A. Schwartz, Esquire
    LEVIN SEDRAN & BERMAN LLP                         CHIMICLES SCHWARTZ KRINER &
    510 Walnut Street, Suite 500                      DONALDSON-SMITH LLP
    Philadelphia, PA 19106                            361 West Lancaster Avenue
    (215) 592-1500 (phone)                            One Haverford Centre
    sduggan@lfsblaw.com                               Haverford, PA 19041
                                                      (610) 642-8500 (phone)
    /s/ Christopher A. Seeger                         steveschwartz@chimicles.com
    Christopher A. Seeger, Esquire
    SEEGER WEISS LLP                                  /s/ Kelly K. Iverson
    55 Challenger Road, 6th Floor                     Kelly K. Iverson, Esquire
    Ridgefield Park, NJ 07660                         LYNCH CARPENTER, LLP
    (973) 639-9100 (phone)                            1133 Penn Avenue, 5th Floor
    cseeger@seegerweiss.com                           Pittsburgh, PA 15222
                                                      (412) 322-9243 (phone)
                                                      kelly@lcllp.com

                                     Plaintiffs’ Co-Lead Counsel

    /s/ D. Aaron Rihn                            Peter St. Tienne Wolff, Esquire
    D. Aaron Rihn, Esquire                       PIETRAGALLO GORDON ALFANO
    ROBERT PEIRCE & ASSOCIATES,                  BOSICK & RASPANTI, LLP
    P.C.                                         One Oxford Centre - 38th Floor
    707 Grant Street, Suite 125                  Pittsburgh, PA 15219
    Pittsburgh, PA 15219                         (412) 263-2000 (phone)
    (412) 281-7229 (phone)                       (412) 263-2001 (fax)
    (412) 281-4229 (fax)                         psw@pietragallo.com
    arihn@peircelaw.com
                                Plaintiffs’ Co-Liaison Counsel

.                                                 7
        Case 2:21-mc-01230-JFC Document 2405 Filed 12/28/23 Page 8 of 8




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 28th day of December 2023, and is available for download by all

counsel of record.


                                            /s/ D. Aaron Rihn
                                            D. Aaron Rihn, Esquire
                                            PA I.D. No.: 85752
                                            ROBERT PEIRCE & ASSOCIATES, P.C.
                                            707 Grant Street
                                            Suite 125
                                            Pittsburgh, PA 15219
                                            Tel: 412-281-7229
                                            Fax: 412-281-4229
                                            arihn@peircelaw.com
